                   Case 19-16069-mdc                             Doc        Filed 10/26/23 Entered 10/26/23 16:45:07                     Desc Main
                                                                            Document      Page 1 of 5


  Fill in this information to identify the case:
Debtor 1           Diane M Hartman

Debtor 2
(Spouse, if filing)
United States Bankruptcy Court for the: Eastern District of PA
                                                                            (State)
  Case number: _19-16069-mdc_______________


Official Form 4100R

Response to Final Cure Payment                                                                                                                               10/15
According to Bankruptcy Rule 3002.1(g), the creditor response to the trustee's notice of final cure payment.

  Part 1:                        Mortgage Information

  Name of Creditor:              Nationstar Mortgage LLC                                                            Court Claim no. (if known)
                                                                                                                    3
  Last 4 digits of any number you use to identify the debtor's account: XXXXXX2212

  Property address:              9842 Garvey Dr
                                 Number             Street




                                Philadelphia, PA 19114
                                 City                            State      Zip Code

  Part 2:                        Prepetition Default Payments

  Check One:

       Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
       on the creditor's claim.

       Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
       on the creditor's claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date
       of the response is:

  Part 3:                        Postpetition Mortgage Payment

  Check One:

       Creditor agrees that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
       the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

       The next postpetition payment from the debtor is on:
                                                                                        MM/ DD / YYYY
       Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
       of the Bankruptcy Code, including all fees, charges, expenses, escrow and costs.




       Creditor asserts that the total amount remaining unpaid as of the date of this responses is:

           a. Total postpetition ongoing payments due:                                                                                  (a) $10,095.18 ($10,289.36
                                                                                                                                        less $194.18 suspense)
           b. Total fees, charges, expenses, escrow, and costs outstanding:                                                             (b) $0.00
           c. Total. Add lines a and b.                                                                                                 (c) $10,095.18
           Creditor asserts that the debtor(s) are contractually
           obligated for the postpetition payments that first became
           due on:                                                                     4/1/2023
                                                                                        MM / DD / YYYY




Form 4100R                                                               Response to Notice of Final Cure Payment                                             Page 1
                Case 19-16069-mdc                   Doc         Filed 10/26/23 Entered 10/26/23 16:45:07                               Desc Main
                                                                Document      Page 2 of 5

           Debtor 1       Diane M Hartman                                                                       Case number: _19-16069-mdc
                          First Name      Middle Name       Last Name



 Part 4:                   Itemized Payment History

     If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
     debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow and costs,
     the creditor must attach an itemized payment history disclosing the following amounts from the date of the
     bankruptcy filing through the date of this response:

      all payments received;
      all fees, costs, escrow, and expenses assessed to the mortgage; and
      all amounts the creditor contends remain unpaid.

 Part 5:                    Sign Here

 The person completing this notice must sign it. The response must be filed as a supplement to the creditor's
 proof of claim.

 Check the appropriate box

     I am the creditor.

     I am the creditor’s authorized agent.

 I declare under penalty of perjury that the information in this Notice is true and correct to the best of my knowledge, information, and
 reasonable belief.

 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.

 X     /s/ Christopher A. DeNardo                                               Date:       10/26/2023
       Signature

 Print:                                                                         Title: Attorney for and on behalf of Nationstar Mortgage LLC (as servicer for
                 Christopher A. DeNardo 78447                                         creditor)
                 First Name        Middle Name              Last Name
 Company         LOGS Legal Group LLP

 Address         3600 Horizon Drive, Suite 150
                 Number           Street
                 King of Prussia, PA 19406
                 City                                   State   ZIP Code
 Contact         (610) 278-6800                                                 Email logsecf@logs.com
 phone




Form 4100R                                                 Response to Notice of Final Cure Payment                                                        Page 2
           Case 19-16069-mdc                Doc     Filed 10/26/23 Entered 10/26/23 16:45:07                     Desc Main
                                                    Document      Page 3 of 5

                                                   Certificate of Service

I hereby certify that a copy of the foregoing Response to Notice of Final Cure was served on the parties listed below by postage
prepaid U.S. Mail, First Class or served electronically through the Court’s ECF System at the e-mail address registered with the
Court on this Date:

       10/26/2023
Date: _____________________________


Bradly E. Allen, Esquire
Law Offices of Bradly Allen
7711 Castor Avenue
Philadelphia, PA 19152

Kenneth E. West
Office of the Chapter 13 Standing Trustee
1234 Market Street - Suite 1813
Philadelphia, PA 19107

Diane M Hartman
9842 Garvey Drive
Philadelphia, PA 19114




                                                                          /s/ Christopher A. DeNardo
                                                                          Christopher A. DeNardo 78447
                                                                          Heather Riloff - 309906
                                                                          Leslie J. Rase, 58365
                                                                          LOGS Legal Group LLP
                                                                          3600 Horizon Drive, Suite 150
                                                                          King of Prussia, PA 19406
                                                                          (610) 278-6800
                                                                          logsecf@logs.com
                                              Case 19-16069-mdc         Doc     Filed 10/26/23 Entered 10/26/23 16:45:07           Desc Main
                                                                                Document      Page 4 of 5




                   Motion For Relief Information
                                 Post-Petition Ledger
                       Diane M Hartman
     Filed By:                                              Payment Changes
                              0

  Case Number:              19-16069       From Date          To Date           Total Amount
   Filing Date:             09/26/19       10/1/2019         9/1/2020         $        1,402.91
                                           10/1/2020         9/1/2021         $        1,432.63
 Payments in POC:          $13,531.00      10/1/2021         9/1/2022         $        1,441.25
First Post Due Date:        10/01/19       10/1/2022         9/1/2023         $        1,463.64
                                           10/1/2023                          $        1,507.52




                                                            Post Petition       Post Suspense      Payment Applied    Additional Escrow Fees/Costs/Cor     Payment            LSAM BR
       Date            Amount Received     Applied To       Amount Due             Balance         (P&I and Escrow)       Applied         p Applied        Suspense       Suspense Balance
                                                                              $              -                                                           $         -      $            -
                                                                              $              -                                                           $         -      $            -
     09/30/19          $        1,402.91   10/01/19     $         1,402.91    $              -                                                           $    1,402.91    $       1,402.91
     10/01/19                                                                 $              -     $         966.50   $        379.62                    $   (1,346.12)   $          56.79
     11/01/19          $        1,417.91   11/01/19     $         1,402.91    $            15.00                                                         $    1,417.91    $       1,474.70
     11/04/19                                                                 $            15.00   $         966.50   $        379.62                    $   (1,346.12)   $         128.58
     11/27/19          $        1,402.91   12/01/19     $         1,402.91    $            15.00                                                         $    1,402.91    $       1,531.49
     11/30/19                                                                 $            15.00   $         966.50   $        379.62                    $   (1,346.12)   $         185.37
     12/31/19          $        1,402.91   01/01/20     $         1,402.91    $            15.00                                                         $    1,402.91    $       1,588.28
     01/02/20                                                                 $            15.00   $         966.50   $        379.62                    $   (1,346.12)   $         242.16
     01/31/20          $        1,402.91   02/01/20     $         1,402.91    $            15.00                                                         $    1,402.91    $       1,645.07
     02/03/20                                                                 $            15.00   $         966.50   $        379.62                    $   (1,346.12)   $         298.95
     02/28/20          $        1,402.91   03/01/20     $         1,402.91    $            15.00                                                         $    1,402.91    $       1,701.86
     02/29/20                                                                 $            15.00   $         966.50   $        379.62                    $   (1,346.12)   $         355.74
     03/31/20          $        1,402.91   04/01/20     $         1,402.91    $            15.00                                                         $    1,402.91    $       1,758.65
     04/01/20                                                                 $            15.00   $         966.50   $        379.62                    $   (1,346.12)   $         412.53
     04/30/20          $        1,402.91   05/01/20     $         1,402.91    $            15.00                                                         $    1,402.91    $       1,815.44
     05/01/20                                                                 $            15.00   $         966.50   $        379.62                    $   (1,346.12)   $         469.32
     06/01/20          $          402.91                                      $           417.91                                                         $      402.91    $         872.23
     07/01/20          $        1,402.91   06/01/20     $         1,402.91    $           417.91                                                         $    1,402.91    $       2,275.14
     07/02/20                                                                 $           417.91   $         966.50   $        379.62                    $   (1,346.12)   $         929.02
     07/31/20          $        1,402.00   07/01/20     $         1,402.91    $           417.00                                                         $    1,402.00    $       2,331.02
     08/03/20                                                                 $           417.00   $         966.50   $        379.62                    $   (1,346.12)   $         984.90
     08/31/20          $        1,402.00   08/01/20     $         1,402.91    $           416.09                                                         $    1,402.00    $       2,386.90
     09/01/20                                                                 $           416.09   $         966.50   $        379.62                    $   (1,346.12)   $       1,040.78
     09/30/20          $        1,432.63   09/01/20     $         1,402.91    $           445.81                                                         $    1,432.63    $       2,473.41
     10/01/20                                                                 $           445.81   $         966.50   $        379.62                    $   (1,346.12)   $       1,127.29
     10/31/20          $        1,432.63   10/01/20     $         1,432.63    $           445.81                                                         $    1,432.63    $       2,559.92
     11/11/20                                                                 $           445.81   $         966.50   $        379.62                    $   (1,346.12)   $       1,213.80
     11/30/20          $        1,432.63   11/01/20     $         1,432.63    $           445.81                                                         $    1,432.63    $       2,646.43
     12/01/20                                                                 $           445.81   $         966.50   $        379.62                    $   (1,346.12)   $       1,300.31
     12/21/20                                                                 $           445.81                                                         $         -      $       1,300.31
     12/31/20          $        1,402.91   12/01/20     $         1,432.63    $           416.09                                                         $    1,402.91    $       2,703.22
     01/04/21                                                                 $           416.09   $         966.50   $        436.41                    $   (1,402.91)   $       1,300.31
     01/29/21          $        1,432.63   01/01/21     $         1,432.63    $           416.09                                                         $    1,432.63    $       2,732.94
     01/31/21                                                                 $           416.09   $         966.50   $        436.41                    $   (1,402.91)   $       1,330.03
     02/26/21          $        1,432.63   02/01/21     $         1,432.63    $           416.09                                                         $    1,432.63    $       2,762.66
     02/28/21                                                                 $           416.09   $         966.50   $        436.41                    $   (1,402.91)   $       1,359.75
     03/02/21                                                                 $           416.09                                                         $         -      $       1,359.75
     03/31/21          $        1,432.63   03/01/21     $         1,432.63    $           416.09                                                         $    1,432.63    $       2,792.38
     04/01/21                                                                 $           416.09   $         966.50   $        436.41                    $   (1,402.91)   $       1,389.47
     04/21/21                                                                 $           416.09                                                         $         -      $       1,389.47
     04/30/21          $        1,432.63   04/01/21     $         1,432.63    $           416.09                                                         $    1,432.63    $       2,822.10
     05/03/21                                                                 $           416.09   $         966.50   $        436.41                    $   (1,402.91)   $       1,419.19
     05/28/21          $        1,432.63   05/01/21     $         1,432.63    $           416.09                                                         $    1,432.63    $       2,851.82
     05/31/21                                                                 $           416.09   $         966.50   $        436.41                    $   (1,402.91)   $       1,448.91
     06/21/21                                                                 $           416.09   $         966.50   $        436.41                    $   (1,402.91)   $          46.00
     06/30/21          $        1,432.63   06/01/21     $         1,432.63    $           416.09                                                         $    1,432.63    $       1,478.63
     07/01/21                                                                 $           416.09   $         966.50   $        436.41                    $   (1,402.91)   $          75.72
     07/30/21          $        1,432.63   07/01/21     $         1,432.63    $           416.09                                                         $    1,432.63    $       1,508.35
     07/31/21                                                                 $           416.09   $         966.50   $        436.41                    $   (1,402.91)   $         105.44
     08/23/21                                                                 $           416.09                                                         $         -      $         105.44
     08/31/21          $        1,432.63   08/01/21     $         1,432.63    $           416.09                                                         $    1,432.63    $       1,538.07
     09/01/21                                                                 $           416.09   $         966.50   $        466.13                    $   (1,432.63)   $         105.44
     09/30/21          $          509.00                                      $           925.09                                                         $      509.00    $         614.44
     10/01/21                                                                 $           925.09                                                         $         -      $         614.44
     10/29/21          $          752.20   09/01/21     $         1,432.63    $           244.66                                                         $      752.20    $       1,366.64
     10/31/21                                                                 $           244.66   $         966.50   $        466.13                    $   (1,432.63)   $         (65.99)
     11/30/21          $          752.58                                      $           997.24                                                         $      752.58    $         686.59
     12/01/21                                                                 $           997.24                                                         $         -      $         686.59
     12/30/21          $          752.57   10/01/21     $         1,441.25    $           308.56                                                         $      752.57    $       1,439.16
     12/31/21                                                                 $           308.56   $         966.50   $        466.13                    $   (1,432.63)   $           6.53
     01/31/22          $          722.58                                      $         1,031.14                                                         $      722.58    $         729.11
     02/01/22                                                                 $         1,031.14                                                         $         -      $         729.11
     02/28/22          $        1,441.25   11/01/21     $         1,441.25    $         1,031.14                                                         $    1,441.25    $       2,170.36
                            Case 19-16069-mdc   Doc       Filed 10/26/23 Entered 10/26/23 16:45:07   Desc Main
                                                          Document      Page 5 of 5




03/01/22                                              $        1,031.14   $      966.50   $      466.13                  $   (1,432.63)   $      737.73
03/31/22   $    782.58    12/01/21   $     1,441.25   $          372.47                                                  $      782.58    $    1,520.31
04/01/22                                              $          372.47   $      966.50   $      466.13                  $   (1,432.63)   $       87.68
04/29/22   $     33.90                                $          406.37                                                  $       33.90    $      121.58
04/30/22                                              $          406.37                                                  $         -      $      121.58
05/31/22                                              $          406.37                                                  $         -      $      121.58
05/31/22   $     790.00                               $        1,196.37                                                  $      790.00    $      911.58
06/30/22   $   1,441.25   01/01/22   $     1,441.25   $        1,196.37                                                  $    1,441.25    $    2,352.83
07/01/22                                              $        1,196.37   $      966.50   $      466.13                  $   (1,432.63)   $      920.20
07/29/22   $   1,441.25   02/01/22   $     1,441.25   $        1,196.37                                                  $    1,441.25    $    2,361.45
07/31/22                                              $        1,196.37   $      966.50   $      474.75                  $   (1,441.25)   $      920.20
08/30/22                                              $        1,196.37                                                  $         -      $      920.20
09/30/22   $    800.00    03/01/22   $     1,441.25   $          555.12                                                  $      800.00    $    1,720.20
10/03/22                                              $          555.12   $      966.50   $      474.75                  $   (1,441.25)   $      278.95
10/31/22   $   1,000.00   04/01/22   $     1,441.25   $          113.87                                                  $    1,000.00    $    1,278.95
11/01/22                                              $          113.87                                                  $         -      $    1,278.95
11/30/22   $   1,463.64   05/01/22   $     1,441.25   $          136.26                                                  $    1,463.64    $    2,742.59
12/01/22                                              $          136.26   $      966.50   $      474.75                  $   (1,441.25)   $    1,301.34
12/28/22                                              $          136.26                                                  $         -      $    1,301.34
12/30/22   $   1,432.00   06/01/22   $     1,441.25   $          127.01                                                  $    1,432.00    $    2,733.34
12/31/22                                              $          127.01   $      966.50   $      474.75                  $   (1,441.25)   $    1,292.09
01/31/23   $   1,463.64   07/01/22   $     1,441.25   $          149.40                                                  $    1,463.64    $    2,755.73
02/01/23                                              $          149.40   $      966.50   $      474.75                  $   (1,441.25)   $    1,314.48
02/28/23   $   1,463.64   08/01/22   $     1,441.25   $          171.79                                                  $    1,463.64    $    2,778.12
03/01/23                                              $          171.79   $      966.50   $      474.75                  $   (1,441.25)   $    1,336.87
03/01/23                                              $          171.79   $      966.50   $      474.75                  $   (1,441.25)   $     (104.38)
03/21/23                                              $          171.79                                                  $         -      $     (104.38)
03/31/23   $   1,463.64   09/01/22   $     1,441.25   $          194.18                                                  $    1,463.64    $    1,359.26
04/03/23                                              $          194.18   $      966.50   $      474.75                  $   (1,441.25)   $      (81.99)
04/28/23   $   1,463.64   10/01/22   $     1,463.64   $          194.18                                                  $    1,463.64    $    1,381.65
04/30/23                                              $          194.18   $      966.50   $      497.14                  $   (1,463.64)   $      (81.99)
05/17/23                                              $          194.18                                                  $         -      $      (81.99)
05/31/23   $   1,463.64   11/01/22   $     1,463.64   $          194.18                                                  $    1,463.64    $    1,381.65
06/02/23                                              $          194.18   $      966.50   $      497.14                  $   (1,463.64)   $      (81.99)
06/21/23                                              $          194.18   $      966.50   $      497.14                  $   (1,463.64)   $   (1,545.63)
06/30/23   $   1,463.64   12/01/22   $     1,463.64   $          194.18                                                  $    1,463.64    $      (81.99)
07/03/23                                              $          194.18   $      966.50   $      497.14                  $   (1,463.64)   $   (1,545.63)
07/31/23   $   1,463.64   01/01/23   $     1,463.64   $          194.18                                                  $    1,463.64    $      (81.99)
08/01/23                                              $          194.18   $      966.50   $      497.14                  $   (1,463.64)   $   (1,545.63)
08/23/23                                              $          194.18   $      966.50   $      497.14                  $   (1,463.64)   $   (3,009.27)
08/31/23   $   1,463.64   02/01/23   $     1,463.64   $          194.18                                                  $    1,463.64    $   (1,545.63)
09/01/23                                              $          194.18   $      966.50   $      497.14                  $   (1,463.64)   $   (3,009.27)
09/29/23   $   1,463.64   03/01/23   $     1,463.64   $          194.18                                                  $    1,463.64    $   (1,545.63)
09/30/23                                              $          194.18   $      966.50   $      497.14                  $   (1,463.64)   $   (3,009.27)
                                                      $          194.18                                                  $         -      $   (3,009.27)
                                                      $          194.18                                                  $         -      $   (3,009.27)
                                                      $          194.18                                                  $         -      $   (3,009.27)
                                                      $          194.18                                                  $         -      $   (3,009.27)
                                                      $          194.18                                                  $         -      $   (3,009.27)
                                                      $          194.18                                                  $         -      $   (3,009.27)
                                                      $          194.18                                                  $         -      $   (3,009.27)
                                                      $          194.18                                                  $         -      $   (3,009.27)
                                                      $          194.18                                                  $         -      $   (3,009.27)
                                                      $          194.18                                                  $         -      $   (3,009.27)
                                                      $          194.18                                                  $         -      $   (3,009.27)
                                                      $          194.18                                                  $         -      $   (3,009.27)
                                                      $          194.18                                                  $         -      $   (3,009.27)
                                                      $          194.18                                                  $         -      $   (3,009.27)
                                                      $          194.18                                                  $         -      $   (3,009.27)
                                                      $          194.18                                                  $         -      $   (3,009.27)
                                                      $          194.18                                                  $         -      $   (3,009.27)
                                                      $          194.18                                                  $         -      $   (3,009.27)
                                                      $          194.18                                   $   (3,758.99) $    3,758.99    $      749.72
                                                      $          194.18                                     $749.72      $     (749.72)   $        0.00
                                                      $          194.18                                                  $         -      $        0.00
                                                      $          194.18                                                  $         -      $        0.00
                                                      $          194.18                                                  $         -      $        0.00
                                                      $          194.18                                                  $         -      $        0.00
                                                      $          194.18                                                  $         -      $        0.00
